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        The Honorable P. Kevin Castel
        United States District Court
        Southern District of New York
        500 Pearl Street
        New York, NY, 10007-1312

                       Re:     United States v. Bergstein, 16 er. 746 (PKC)

        Dear Judge Castel:

             '\Defendant David Bergstein writes, with the consent of the Government, to request that
        the ti~eriod for the defendant to file any posttrial motions for a new trial or for a judgment of
        acquittal pursuant to Rules 29 and 33 of the Federal Rules of Criminal Procedure be extended to
        March29,2~
               Assistant U.S. Attorney Edward Imperatore advised the defense by e-mail that the
        Government did not object to this requestz:?.Iovided that the Government received a
        corresponding extension for its response.l.!_,he defense agrees that the Government may have four
        weeks from the filing of posttrial motions to file a resp':.ns"0

                                                                Respectfully submitted,

                                                                SATTERLEE STEPHENS LLP

                                                                /s/ Andrew L. Fish
                                                                Andrew L. Fish

                                                                BIENERT, MILLER & KATZMAN, PLC

                                                                /s/ Thomas H. Bienert, Jr.
                                                                Thomas H. Bienert, Jr.
        cc: All counsel (via ecf)
